Case 1:23-cv-21290-DPG Document 140-1 Entered on FLSD Docket 02/03/2025 Page 1 of 4
Case 1:23-cv-21290-DPG Document 140-1 Entered on FLSD Docket 02/03/2025 Page 2 of 4
Case 1:23-cv-21290-DPG Document 140-1 Entered on FLSD Docket 02/03/2025 Page 3 of 4
Case 1:23-cv-21290-DPG Document 140-1 Entered on FLSD Docket 02/03/2025 Page 4 of 4




          APPLYA CORPORATION, a Delaware corporation v. TBG TECH CO. LLC, a Florida
                        limited liability company, and Johannes Floe
                            Civil Action No. 1:23-cv-21290-DPG

                                                  EXHIBIT “A”

      With respect to any and all accounts with TD Bank in the name of Johannes Floe and TD
      Bank CK Account No. 8259228978, Account No. 8257254230, and Account No.
      8259134935 1 (collectively the “Accounts”)

            1)     All monthly statements for the Accounts;
            2)     Copies of deposit slips for the Accounts;
            3)     Copies of cancelled checks for the Accounts;
            4)     The completed forms and agreements for the opening of the Accounts;
            5)     Resolutions for signature authority for the Accounts;
            6)     Signature forms or cards for the Accounts; and
            7)     Communications, in electronic or paper form, between TD Bank and any
                   individual or entity in connection with the Accounts.



                                                  *        *        *




      1
        We are requesting records for TD Bank CK Account No. 8259228978, Account No. 8257254230, and
      Account No. 8259134935, regardless of who the account holder is, in addition to any accounts held or
      maintained in the name of Johannes Floe, whether he be the sole account holder, a joint account holder, or
      signatory.
